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                                                         APPENDIX A

               Professional Athletes Who First Denied Use of Performance Enhancing Substances and Later Admitted Use

                                                    Initial Denial                                     Subsequent Admission
Professional Athlete    Sport
                                      Date         Source          Available at              Date      Source         Available at
                                                              http://www.spiegel.de/int
                                                                                                                 http://www.spiegel.de/internati
                                                               ernational/germany/yet-
                                     Denied                                                                         onal/germany/yet-another-
                                                                   another-cycling-
     Rolf Aldag        Cycling      numerous       Spiegel                                 5/24/2007   Spiegel     cycling-confession-tour-de-
                                                                 confession-tour-de-
                                      times.                                                                      france-victor-riis-admits-to-
                                                              france-victor-riis-admits-
                                                                                                                      doping-a-485101.html
                                                              to-doping-a-485101.html

                                      Denied
                                                              http://espn.go.com/classic
                                  throughout the   ESPN                                                ESPN      http://espn.go.com/classic/biogr
     Lyle Alzado         NFL                                  /biography/s/Alzado_Lyl       Jul-91
                                     course of     Classic                                             Classic      aphy/s/Alzado_Lyle.html
                                                                        e.html
                                      career.


                                     Repeated                 http://www.theguardian.c
                                   denials from      The      om/sport/2013/jan/18/lan                           http://www.cnn.com/2013/01/1
   Lance Armstrong     Cycling                                                             1/17/2013    CNN
                                    July 1999-     Guardian     ce-armstrong-doping-                                7/sport/armstrong-doping/
                                    June 2012.                      denials-quotes



                                                              http://www.foxsports.co
                                                                                                                 http://www.foxsports.com/mlb/
                                                     Fox         m/mlb/story/Barry-                     Fox
     Barry Bonds       Baseball       2003                                                 3/21/2011               story/Barry-Bonds-perjury-
                                                    Sports      Bonds-perjury-trial-                   Sports
                                                                                                                        trial-begins-032111
                                                                   begins-032111
                           Case 1:16-cv-00013-JMC-RMM Document 41-2 Filed 11/23/16 Page 2 of 7




                                                      Initial Denial                                  Subsequent Admission
Professional Athlete   Sport
                                       Date          Source          Available at           Date      Source         Available at


                                                               http://www.cyclingnews.
                                  Denied doping                                                                 http://www.cyclingnews.com/n
                                                     Cycling      com/news/boogerd-                   Cycling
   Michael Boogerd     Cycling     throughout                                             3/6/2013               ews/boogerd-given-two-year-
                                                      News          given-two-year-                    News
                                     career.                                                                        suspension-for-doping/
                                                                suspension-for-doping/


                                     2/23/2012
                                      (2/23/13-
                                     arbitration
                                   board throws
                                   out 50-game
                                    suspension-
                                                               http://news.yahoo.com/ry
                                  first successful                                                               http://news.yahoo.com/ryan-
                                                     Yahoo     an-braun-finally-admits-               Yahoo
     Ryan Braun        Baseball        appeal.)                                           8/23/2013               braun-finally-admits-drug-
                                                     News              drug-2011-                     News
                                      (7/22/13-                                                                     2011-232835926.html
                                                                    232835926.html
                                     Suspended
                                    without pay
                                      for 2013
                                     season for
                                  violating drug
                                       policy.)

                                                               http://www.cbsnews.com/                          http://www.cbsnews.com/news/
                                                                                                      CBS
    Jose Canseco       Baseball    1988, 1995         CBS          news/steroid-user-     2/10/2005               steroid-user-canseco-names-
                                                                                                      News
                                                                canseco-names-names/                                         names/




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                             Case 1:16-cv-00013-JMC-RMM Document 41-2 Filed 11/23/16 Page 3 of 7




                                                   Initial Denial                                        Subsequent Admission
Professional Athlete      Sport
                                       Date       Source          Available at                Date       Source         Available at


                                                              http://espn.go.com/espn/                              http://grg51.typepad.com/steroi
                         Track and                                                                        Steroid
   Michelle Collins                  5/29/2007     ESPN       wire?section=trackandfiel     5/20/2007               d_nation/2007/05/michelle_coll
                           Field                                                                          Nation
                                                                   d&id=2063999                                                  in.html




                         Track and                            http://www.isteroids.com/                             http://espn.go.com/espn/print?i
     Crystal Cox                     11/9/2010    Isteroids                                 1/29/2010     ESPN
                           Field                                 blog/tag/crystal-cox/                                  d=4870099&type=story



                                                              http://www.telegraph.co.u
                                                              k/sport/othersports/athleti
 Justin Gatlin (Tested
                                                                 cs/11640558/Justin-                                http://www.cnn.com/2013/06/0
    Positive-denies      Track and                   The
                                     5/30/2015                 Gatlin-reacts-angrily-to-    8/22/2006     CNN        6/us/performance-enhancing-
   knowingly using         Field                  Telegraph
                                                               claims-he-is-still-being-                               drugs-in-sports-fast-facts/
 testosterone cream.)
                                                                  boosted-by-illegal-
                                                                      drugs.html
                                                              http://usatoday30.usatoda
                                                                                                                    http://www.sfgate.com/sports/ar
                                                   USA        y.com/sports/baseball/stor
    Jason Giambi         Baseball    7/7/2002                                               12/11/2003    SFGate     ticle/Giambi-admitted-taking-
                                                   Today       ies/2002-07-08-steroids-
                                                                                                                          steroids-2631890.php
                                                                       acov.htm


                                       Denied                 http://www.nytimes.com/                               http://www.nytimes.com/2007/
    Bo Hamburger         Cycling     throughout   NY Times    2007/11/07/sports/07iht-      11/7/2007    NY Times          11/07/sports/07iht-
                                       career.                 doping7.8233881.html                                      doping7.8233881.html




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                           Case 1:16-cv-00013-JMC-RMM Document 41-2 Filed 11/23/16 Page 4 of 7




                                                   Initial Denial                                          Subsequent Admission
Professional Athlete    Sport
                                      Date        Source          Available at                Date         Source         Available at
                                                                                                                    http://www.wsj.com/video/tyler
                                                              http://autobus.cyclingnew                                -hamilton-admits-doping-
                                                  Cycling
   Tyler Hamilton      Cycling      9/23/2004                 s.com/news.php?id=news       5/20/2011        WSJ     accuses-armstrong/A3E3B5C4-
                                                   News
                                                              /2004/sep04/sep23news3                                       5FB0-4CF7-8C5D-
                                                                                                                         A6130DE508CF.html
                                                                                              10/5/07
                                                              http://www.3wiresports.c    (Pleads guilty            http://www.cbsnews.com/news/
                       Track and                   Wired                                                   CBS
    Marion Jones                    11/4/2003                 om/2010/11/01/the-truth-    to lying about            marion-jones-pleads-guilty-to-
                         Field                     Sports                                                  News
                                                               marion-jones-is-a-liar/    use to federal                       doping/
                                                                                           authorities.)
                                    Insisted he
                                   was innocent
                                     for years,               http://www.nytimes.com/                                 http://espn.go.com/figure-
    Floyd Landis       Cycling     wrote a book   NY Times    2010/05/21/sports/cycling    5/21/2010       ESPN     skating/cycling/news/story?id=
                                     about his                      /21landis.html                                             5203604
                                    innocence.
                                    5/20/2010.
                                                              http://www.telegraph.co.u
                                                              k/sport/othersports/baseb
                                                     The                                                            http://espn.go.com/mlb/news/st
    Mark McGuire       Baseball     2/16/2005                  all/2355394/American-       1/12/2010       ESPN
                                                  Telegraph                                                                 ory?id=4816607
                                                               View-McGwire-denies-
                                                                  steroids-link.html

                                                              http://mlb.mlb.com/conte
                       Track and                              nt/printer_friendly/mlb/y                                http://espn.go.com/figure-
  Tim Montgomery                    6/24/2004     MLB.com                                  11/27/2009      ESPN
                         Field                                2004/m06/d24/c779131.js                               skating/news/story?id=4693099
                                                                           p




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                                                  Initial Denial                                       Subsequent Admission
Professional Athlete    Sport
                                      Date       Source          Available at               Date       Source         Available at
                                                            http://www.nydailynews.
    Shane Mosley                                                                                                  http://www.nydailynews.com/s
                                                                 com/sports/more-
 (Unknowingly took                   Always      NY Daily                                                            ports/more-sports/shane-
                        Boxing                                 sports/shane-mosley-        Dec-03        CNN
 steroids provided by                denied.      News                                                            mosley-admits-balco-steroids-
                                                              admits-balco-steroids-
       BALCO.)                                                                                                            article-1.247541
                                                                  article-1.247541
                                                            http://www.velonation.co
                                                                                                                  http://www.velonation.com/Ne
                                                            m/news/id/16110/ogrady-
                                                                                                                  ws/ID/15082/OGrady-admits-
                                   Denied ever     Velo     says-he-only-doped-once-                     Velo
    Stuart O'Grady      Cycling                                                           7/24/2013               EPO-use-in-1998-Tour-claims-
                                    doping.       Nation     i-am-happy-for-all-my-                     Nation
                                                                                                                     he-never-used-substance-
                                                              tests-ever-taken-after-
                                                                                                                            again.aspx
                                                            1998-to-be-re-tested.aspx

                                                            http://www.nytimes.com/                               http://www.nytimes.com/2007/
    Andy Pettitte       Baseball   10/1/2006     NY Times   2007/12/16/sports/baseba      12/16/2007   NY Times   12/16/sports/baseball/16pettitte.
                                                             ll/16pettitte.html?_r=0                                        html?_r=0

                                                            http://uk.reuters.com/artic
                                                                                                                  http://uk.reuters.com/article/uk-
                                     Denied                 le/uk-cycling-doping-riis-
     Bjarne Riis        Cycling                   Reuters                                 5/25/2007     Reuters          cycling-doping-riis-
                                   previously.              idUKL256944442007052
                                                                                                                     idUKL2569444420070525
                                                                         5

                                                                                                                      http://espn.go.com/new-
                                                            http://www.cbsnews.com/                               york/mlb/story/_/id/11825652/a
                                                  CBS
   Alex Rodriguez       Baseball   12/31/2004                 news/a-rod-ive-never-       11/6/2014     ESPN         lex-rodriguez-new-york-
                                                  News
                                                                   used-steroids/                                   yankees-admitted-dea-used-
                                                                                                                                peds

                                                            http://www.spiegel.de/int
                                                                                                                  http://www.spiegel.de/internati
                                                            ernational/germany/germ
                                   Denied for                                                                     onal/germany/german-cyclist-
  Stefan Schumacher     Cycling                   Spiegel       an-cyclist-stefan-        3/29/2013     Spiegel
                                     years.                                                                         stefan-schumacher-admits-
                                                               schumacher-admits-
                                                                                                                       doping-a-891695.html
                                                             doping-a-891695.html


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                                                      Initial Denial                                       Subsequent Admission
Professional Athlete      Sport
                                        Date         Source          Available at              Date        Source         Available at

                                                                http://www.nytimes.com/                               http://www.cnn.com/2013/06/0
Gary Sheffield (Denied                                          2004/02/20/sports/baseba                               6/us/performance-enhancing-
                                                                                                          CNN; LA
  knowingly taking       Baseball     2/20/2004     NY Times     ll-after-being-linked-to-   10/11/2004                  drugs-in-sports-fast-facts/;
                                                                                                           Times
       drugs.)                                                    balco-sheffield-denies-                             http://articles.latimes.com/2004
                                                                      steroid-use.html                                    /oct/06/sports/sp-balco6

                                                                http://www.cyclingnews.
                                                                                                                      http://www.cyclingnews.com/n
                                     Denied since                  com/news/holm-on-
                                                     Cycling                                               Cycling    ews/holm-on-sorensens-doping-
    Rolf Sorensen        Cycling      retiring in                   sorensens-doping-        3/29/2013
                                                      News                                                  News         admission-and-the-danish-
                                        2002.                      admission-and-the-
                                                                                                                                coffee-club/
                                                                   danish-coffee-club/

                                                                http://velonews.competito
                                                                                                                      http://velonews.competitor.com
                                                                r.com/2013/06/news/jan-
                                                                                                                         /2013/06/news/jan-ullrich-
                                                      Velo      ullrich-finally-admits-to-                  Velo
     Jan Ullrich         Cycling      2/1/2007                                               1/22/2013                     finally-admits-to-using-
                                                      News       using-treatment-says-it-                   News
                                                                                                                      treatment-says-it-was-to-level-
                                                                  was-to-level-playing-
                                                                                                                            playing-field_291690
                                                                       field_291690


                                                                http://www.irishtimes.co
                                                                                                                      http://www.irishtimes.com/spor
                                      Denied for      Irish     m/sport/virenque-finally-                   Irish
  Richard Virenque       Cycling                                                             10/25/2000                 t/virenque-finally-admits-to-
                                        years.       Times      admits-to-taking-banned-                   Times
                                                                                                                      taking-banned-drugs-1.1112046
                                                                    drugs-1.1112046


                                                                http://www.sandiegounio
                                                                                                                      http://www.sandiegouniontribu
                         Track and                  San Diego   ntribune.com/uniontrib/2                  San Diego
     Kelli White                       Aug-03                                                5/20/2004                ne.com/uniontrib/20040520/ne
                           Field                     Tribune    0040520/news_1s20drugs                     Tribune
                                                                                                                             ws_1s20drugs.html
                                                                          .html



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                                             Initial Denial                                    Subsequent Admission
Professional Athlete   Sport
                                  Date      Source          Available at             Date      Source         Available at
                                                      http://www.spiegel.de/int
                                                                                                         http://www.spiegel.de/internati
                                                       ernational/germany/yet-
                                  Denied                                                                    onal/germany/yet-another-
                                                           another-cycling-
      Eric Zabel       Cycling   numerous   Spiegel                                5/25/2007   Spiegel     cycling-confession-tour-de-
                                                         confession-tour-de-
                                   times.                                                                 france-victor-riis-admits-to-
                                                      france-victor-riis-admits-
                                                                                                              doping-a-485101.html
                                                      to-doping-a-485101.html




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